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                                UNITED STATES BANKRUPTCY COURT
                                        DISTRICT OF COLORADO


In re:                                                      )
                                                            )
MCKAY, BRANDON MICHAEL                                      )        Case No. 18-17091-EEB
                                                            )
                                                            )        Chapter 7
                                                            )
                                  Debtor(s)                 )


                                              STATUS REPORT


           Simon E. Rodriguez, Trustee, in the above referenced case, hereby provides this Court with a STATUS
REPORT. On April 23, 2019, the Court granted the trustee’s request for a Rule 2004 Examination of Audrey
Dolan. The process server for the trustee has made multiple attempts to serve her with a subpoena. The
process server has concluded that Ms. Dolan is evading service of the subpoena. The trustee is reluctant to
file an adversary complaint against Ms. Dolan but may do so in order to further investigate the actions of Ms.
Dolan and the Debtor pre-petition. The process server is continuing the effort to serve Ms. Dolan. The trustee
will file another STATUS REPORT March 1, 2020.

         Dated: October 26, 2019

                                                            RESPECTFULLY SUBMITTED,

                                                            /s/ Simon E. Rodriguez
                                                            Simon E. Rodriguez, Trustee
                                                            P O Box 36324
                                                            Denver, CO 80236
                                                            (303) 969-9100

                                        CERTIFICATE OF MAILING

        I HEREBY CERTIFY that on October 26, 2019, a true copy of the foregoing was served by depositing
same in the United States mail, postage prepaid and properly addressed to:

UNITED STATES TRUSTEE
1961 Stout St., Suite 12-200
Denver, CO 80294

Brandon Michael Mckay
581 Delta Ave
Akron, CO 80720

By: /S/ Simon E. Rodriguez
